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 5
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 6   STEVEN SHELTON

 7                                            UNITED STATES DISTRICT COURT

 8                                FOR THE NORTHERN DISTRICT OF CALIFORNIA

 9   UNITED STATES OF AMERICA, )                         Case No. CR-05-00334 SBA [WDB]
                                   )
10               Plaintiff,        )                     ORDER DIRECTING
                                   )                     U.S. MARSHAL TO ARRANGE FOR
11         vs.                     )                     NON-CUSTODIAL TRANSPORTATION
                                   )                     AND LODGING
12   STEVEN SHELTON, et. al.,      )
                                   )
13               Defendants.       )
     ______________________________)
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               Defendant Steven Shelton, being required to appear in this Court on October 2 and 3,
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     2006 and having qualified for legal representation at the government’s expense, and good cause
16
     appearing therefor,
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               IT IS HEREBY ORDERED that the United States Marshal arrange one-way non-
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     custodial air transportation for Mr. Shelton to travel from Orlando, FL to Oakland, CA, on
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     October 1, 2006 with a return flight from Oakland, CA to Orlando, FL on the afternoon of
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     October 3, 2006, after court proceedings in this matter have been completed. Alternatively, the
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     United States Marshal may furnish the necessary fare for Mr. Shelton’s trip in lieu of providing
22
     such transportation.
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                                                           ///
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25
     [Proposed] Order Directing U.S. Marshal to
     Arrange for Non-Custodial Transportation
26   And Lodging                                           1
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                                                                                         two
 1             IT IS FURTHER ORDERED that the United States Marshal arrange for three
                                                                                ------ nights

 2   lodging for Mr. Shelton at a location, near the courthouse, if possible, while he is in the bay area

 3   attending court proceedings.

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 5                                                ________________________________________
      9/25/06                                     HONORABLE SAUNDRA BROWN ARMSTRONG
 6                                                United States District Judge
                                                  Northern District of California
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     [Proposed] Order Directing U.S. Marshal to
     Arrange for Non-Custodial Transportation
26   And Lodging                                         2
